         Case 1:21-cr-00237-RDM Document 136 Filed 10/26/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                :
                                                        :
                v.                                      :       Case No. 21-CR-237 (RDM)
                                                        :
JONATHANPETER ALLEN KLEIN and                           :
MATTHEW LELAND KLEIN,                                   :
                                                        :
                        Defendants.                     :


                                    JOINT STATUS REPORT

        The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, defendant Jonathanpeter Allen Klein, by and through his attorney

Michelle M. Sweet, Esq., and defendant Matthew Leland Klein, by and through his attorney

Eugene Gorokhov, Esq., provide this Joint Status Report to the Court.

                1.      On August 26, 2022, upon consideration of the parties’ August 26, 2022

Joint Status Report, (Dkt. 133), the Court directed the parties to file a further joint status report on

or before October 28, 2022. The Court also tolled the defendants’ Speedy Trial rights in the interest

of justice from August 29, 2022, to October 28, 2022.

                2.      Since filing the last Joint Status Report, the government has continued to

provide global discovery to the defendants in the Capitol Riot related cases.

                3.      It is the government’s position that, at present, the case specific materials

discoverable at this time have been tendered and/or made available to the defendants. The

government will continue to produce such items as they become available.

                4.      The parties continue to engage in discussions towards pursuing resolution

of this matter short of trial and require additional time to determine whether such a resolution is

achievable.
         Case 1:21-cr-00237-RDM Document 136 Filed 10/26/22 Page 2 of 2




               5.      In addition, given the volume of discovery that has been and is expected to

be produced, the defendants need additional time to meaningfully review such discovery and

determine how best to proceed in this matter, including making decisions regarding the filing of

pretrial motions.

               6.      The undersigned counsel’s temporary detail to the U.S. Attorney’s Office

for the District of Columbia is ending and new government counsel is to be assigned. Such new

counsel will require additional time to transition into this matter.

               7.      The parties request that the Court set this matter for an additional Joint

Status Report to be filed on or before January 27, 2023, by 12:00 p.m.

               8.      The parties agree that time should be excluded under the Speedy Trial Act

from October 28, 2022, through January 27, 2023, in the interest of justice for the reasons

previously provided by the Court.

               9.      Neither defendant is in pretrial custody and this request for additional time

is not made for the purposes of causing unnecessary delay.

               10.     The undersigned Assistant U.S. Attorney has received permission from

counsel for both defendants to file this Joint Status Report.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               DC Bar No. 481052

                                       By:      /s/ Christopher K. Veatch
                                               CHRISTOPHER K. VEATCH
                                               Assistant United States Attorney, Detailee
                                               IL Bar No. 6276097
                                               219 S. Dearborn Street, 5th Floor
                                               Chicago, Illinois 60604
                                               christopher.veatch@usdoj.gov
                                               (312) 886-3389

                                                  2
